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                     IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

   PAUL W. LEWIS; CONNIE K.      )       CIVIL NO. 17-00234 DKW-KSC
   LEWIS,                        )
                                 )       FINDINGS AND RECOMMENDATION TO
             Plaintiffs,         )       GRANT PLAINTIFFS’ MOTION FOR AN
                                 )       ORDER OF REMAND
        vs.                      )
                                 )
   HSBC BANK USA, N.A.; MICHAEL )
   JAMES MARTIN; COLLEEN ANN     )
   JERGENS; WELLS FARGO BANK,    )
   N.A.; DOE DEFENDANTS 1-50,    )
                                 )
             Defendants.         )
   _____________________________ )

              FINDINGS AND RECOMMENDATION TO GRANT PLAINTIFFS’
                        MOTION FOR AN ORDER OF REMAND

                Before the Court is Plaintiffs Paul and Connie Lewis’

   (collectively “Plaintiffs”) Motion for an Order of Remand, filed

   June 22, 2017.    Defendants Wells Fargo Bank N.A. (“Wells Fargo”),

   Michael James Martin (“Martin”), and Colleen Ann Jergens

   (“Jergens”) (collectively “Removing Defendants”) filed an

   Opposition on July 31, 2017, which Defendant HSBC Bank USA, N.A.

   (“HSBC”)1 joined.    On August 7, 2017, Plaintiffs filed a Reply.

                This matter came on for hearing on August 21, 2017.

   John Perkin, Esq., appeared on behalf of Plaintiffs; Summer

   Kaiawe, Esq., and Michael Bird, Esq., appeared on behalf of

   Removing Defendants; and Blaine Rogers, Esq., appeared on behalf

   of HSBC.    After careful consideration of the parties’



        1
           The Court refers to Removing Defendants and HSBC
   collectively as “Defendants”.
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   submissions, the record, the applicable law, and the arguments of

   counsel, the Court HEREBY RECOMMENDS that Plaintiffs’ Motion be

   GRANTED for the reasons set forth below.

                                   BACKGROUND

                  On February 8, 2017, Plaintiffs commenced this action

   against Defendants in the Circuit Court of the Fifth Circuit,

   State of Hawaii.      Plaintiffs filed a First Amended Complaint

   (“FAC”) on February 15, 2017.

                  Wells Fargo was served with the FAC on April 27, 2017.

   Martin and Jergens were served on May 7, 2017.

                  On May 23, 2017, Defendants removed the action on the

   basis of diversity jurisdiction.         Notice of Removal (“Notice”) at

   ¶ 10.       Included in the Notice was the following averment:

                  Based upon a review of the public docket for the
                  State Court Action accessed on Ho‘ohiki on May 24,
                  2017,2 no return of service as to HSBC has been
                  filed. Upon information and belief, it does not
                  appear that HSBC has been served with the FAC. As
                  a result, HSBC’s consent to removal is not
                  required.

   Id. at ¶ 8.

                  On June 22, 2017, Plaintiffs filed the instant Motion.

                  On July 12, 2017, HSBC filed a Consent and Joinder in

   the Notice.      In the Consent and Joinder, HSBC represented that

   its counsel informed removing defense counsel on June 26, 2017



           2
           Defendants filed an Errata correcting this date to May
   23, 2017.

                                        2
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   that it consented to removal of the action.

                                  DISCUSSION

              Plaintiffs seek remand of this action to state court.

   They argue that the Notice is defective because HSBC failed to

   timely consent to and join in the removal, and the time for doing

   so has expired.    Removing Defendants respond that HSBC’s consent

   was not required because they were unaware that HSBC had been

   served when they removed this action, and that consent was timely

   given subsequent to removal.      In addition, Removing Defendants

   contend that even if HSBC’s consent was untimely, Plaintiffs have

   failed to establish prejudice.3

   I.   Removal Was Procedurally Defective

              Removing Defendants removed the instant case on the

   basis of diversity of citizenship.       Under 28 U.S.C. § 1441, a

   defendant may remove a civil action brought in a state court to

   federal district court if the district court has original

   jurisdiction.    Abrego Abrego v. The Dow Chemical Co., 443 F.3d

   676, 679-80 (9th Cir. 2006).      “Removal . . .    statutes are

   ‘strictly construed,’ and a ‘defendant seeking removal has the

   burden to establish that removal is proper and any doubt is

   resolved against removability.’”        Hawaii ex rel. Louie v. HSBC



        3
           Demonstration of prejudice is not a factor in the Court’s
   inquiry under governing law. Removing Defendants, not
   Plaintiffs, bear the burden of establishing the propriety of
   removal.

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   Bank Nevada, N.A., 761 F.3d 1027, 1034 (9th Cir. 2014) (quoting

   Luther v. Countrywide Home Loans Serv. LP, 533 F.3d 1031, 1034

   (9th Cir.2008)); Durham v. Lockheed Martin Corp., 445 F.3d 1247,

   1252 (9th Cir. 2006); California ex rel. Lockyer v. Dynegy, Inc.,

   375 F.3d 831, 838 (9th Cir. 2004).

              There is a strong presumption against removal

   jurisdiction, which “means that the defendant always has the

   burden of establishing that removal is proper,’ and that the

   court resolves all ambiguity in favor of remand to state court.”

   Hunter v. Philip Morris USA, 582 F.3d 1039, 1042 (9th Cir. 2009)

   (quoting Gaus v. Miles, Inc., 980 F.2d 564, 566 (9th Cir. 1992)

   (per curiam)); California ex rel. Lockyer, 375 F.3d at 838

   (“[T]he burden of establishing federal jurisdiction falls to the

   party invoking the statute.”); Durham, 445 F.3d at 1252 (Courts

   resolve any doubts about the propriety of removal in favor of

   remanding the case to state court).       Courts should presume that a

   case lies outside the limited jurisdiction of the federal courts.

   Hunter, 582 F.3d at 1042.4

              Known as the rule of unanimity, 28 U.S.C.

   § 1446(b)(2)(A) requires “all defendants who have been properly

   joined and served [to] join in or consent to the removal of the

   action.”   28 U.S.C. § 1446(b)(2)(A); Destfino v. Reiswig, 630



        4
           Removing Defendants have completely disregarded this
   legal standard in their briefing.

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   F.3d 952, 956 (9th Cir. 2011) (citations omitted); Proctor v.

   Vishay Intertechnology Inc., 584 F.3d 1208, 1224 (9th Cir. 2009)

   (“In a case involving multiple defendants, ‘[a]ll defendants must

   join in a removal petition.’”) (citation omitted) (alteration in

   original).    Excepted from this rule are nominal, fraudulently

   joined or unknown defendants, Emrich v. Touche Ross & Co., 846

   F.2d 1190, 1193 n.1 (9th Cir. 1988); Abrego, 443 F.3d at 680

   (citation omitted), and defendants that have not been properly

   served in the state court action.       Salveson v. Western States

   Bankcard Ass’n, 731 F.2d 1423, 1429 (9th Cir. 1984), overruled on

   other grounds by Ethridge v. Harbor House Rest., 861 F.2d 1389

   (9th Cir. 1988).    A defendant’s failure to join is fatal under

   § 1446.   See Pressman v. Meridian Mortgage Co., 334 F. Supp. 2d

   1236, 1240-41 (D. Haw. 2004) (citing Hewitt v. City of Stanton,

   798 F.2d 1230, 1232-33 (9th Cir. 1986)); Prize Frize, Inc. v.

   Matrix (U.S.) Inc., 167 F.3d 1261, 1266 (9th Cir. 1999),

   overruled on other grounds by Abrego, 443 F.3d at 670 (“[T]he

   failure to adhere to the unanimity rule is dispositive.”).

                If fewer than all defendants join in removal, the

   removing party has the burden, under § 1446(a), of affirmatively

   explaining the absence of the non-joining defendant(s) in the

   notice of removal.     Prize Frize, 167 F.3d at 1266 (finding the

   removal notice insufficient where it stated that the defendants

   believed that many, rather than all, of the non-consenting


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   defendants were not properly served).       Insofar as HSBC was served

   on May 1, 2017, removing Defendants were required to obtain

   HSBC’s consent prior to removing the action, and their failure to

   do so renders the Notice defective.

        A.    Removing Defendants Failed to Obtain HSBC’s Consent or
              Joinder in the Notice

              Removing Defendants argue that they were not required

   to obtain HSBC’s consent because it was not a “[k]nown [p]roperly

   [s]erved and [j]oined [d]efendant at the [t]ime of [r]emoval,”

   Opp’n at 7, as no proof of service was posted on Ho‘ohiki at the

   time of removal.    Id., Decl. of Summer H. Kaiawe (“Kaiawe

   Decl.”), Ex. A (reflecting no proof of service for HSBC in the

   case document list on May 23, 2017).       They further contend that

   they were reasonably diligent in their effort to ascertain

   whether HSBC had been served, and in any event, that they

   properly explained HSBC’s absence in the Notice.         Presently at

   issue is not whether they explained HSBC’s absence, but whether,

   prior to removal, they exercised reasonable diligence in

   attempting to ascertain the status of service upon HSBC.

              1.    Removing Defendants Failed to Exercise Reasonable
                    Diligence

              To support their assertion of diligence, Removing

   Defendants submit that 1) they reviewed Ho‘ohiki on May 23, 2017,

   prior to filing the Notice, and no proofs of service were on the

   document list and 2) on May 17, 2017, they contacted David Rosen,


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   Esq., who represented HSBC in another action, but Mr. Rosen was

   unaware of this action.5     After considering the record before it,

   the Court is unpersuaded that Removing Defendants’ efforts

   constitute reasonable diligence in this case.

              Conflicting authority exists regarding the extent of a

   removing defendant’s duty to ascertain whether co-defendants have

   been served at the time the notice of removal is filed.           However,

   many courts require the consent of served co-defendants,

   regardless of the filing of proofs of service, and they find that

   diligence is lacking when removing defendants merely check the

   state court record for proofs of service as to co-defendants.

   See, e.g., Barbera v. WMC Mortg. Corp., No. C 08-02677 SBA, 2009

   WL 742843, at *2 (N.D. Cal. Mar. 18, 2009) (“[T]he obligation to

   join all defendants is based on whether the defendant actually

   has been served, not on the subjective knowledge of the removing

   party.”); Career Network, Inc. v. Wot Servs., Ltd., No.6:10-CV-

   1826-ORL-31, 2011 WL 397906, at *2 (M.D. Fla. Feb. 3, 2011)

   (holding that because service was effected prior to removal, a

   co-defendant’s consent to the removal was required even though

   the proofs of service were not filed prior to removal); AGI Pub.,

   Inc. v. HR Staffing, Inc., No. 1:12-CV-00879-AWI, 2012 WL



        5
           Removing Defendants included this second showing of
   “diligence” in the procedural history section of their
   Opposition, but they primarily rely on their review of the
   Ho‘ohiki record.

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   3260519, at *6 (E.D. Cal. Aug. 8, 2012) (finding a lack of

   diligence sufficient to excuse the removing defendant’s failure

   to join its co-defendants where the removing defendant 1) had

   knowledge that one defendant had been served prior to removal and

   2) checked the docket once, eight days prior to removal, but did

   not recheck or consult the state court clerk’s office);6 Orozco

   v. EquiFirst Corp., No. CVC08-8064PA(CWX), 2008 WL 5412364, at *1

   (C.D. Cal. Dec. 22, 2008) (“A removing defendant must exercise

   due diligence to ascertain if other defendants have been served,

   and simply checking if a proof of service has been filed with the

   court is insufficient.”); Pianovski v. Laurel Motors, Inc., 924

   F. Supp. 86, 87 (N.D. Ill. 1996) (deeming insufficient the

   removing defendant’s phone call to the clerk and instruction to a

   docketing employee and explaining that the removing defendant

   should have taken the further step of attempting to contact the

   co-defendant to determine whether it had been served); Sasser v.

   Florida Pond Trucking, LLC, No. 1:16-CV-252-WKW-PWG, 2016 WL

   3774125, at *6 (M.D. Ala. June 24, 2016), report and

   recommendation adopted, 2016 WL 3769754 (M.D. Ala. July 14, 2016)

   (concluding that the removing defendant’s due diligence requires

   more than a mere check of state court records to see if proofs of


        6
           Removing Defendants believe this case supports a finding
   that they acted with reasonable diligence. The Court disagrees.
   Checking Ho‘ohiki once on the day of removal, without additional
   efforts such as consulting the Fifth Circuit Court Clerk’s
   office, does not compel a different outcome than in AGI.

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   service have been filed as to co-defendants);         Beltran v.

   Monterey Cty., No. C 08-05194 JW, 2009 WL 585880, at *3 (N.D.

   Cal. Mar. 6, 2009) (finding a lack of due diligence where the

   removing defendant called the court clerk to determine if proofs

   of service had been filed as to co-defendants, was informed that

   no proof of service had been filed for certain co-defendants, but

   took no further steps to ascertain whether those co-defendants

   had been served); Parker v. Johnny Tart Enters., Inc., 104 F.

   Supp. 2d 581, 585 (M.D.N.C. 1999) (rejecting the removing

   defendants’ “reliance on their search for and the absence of a

   return of service for Defendant Blackstock in the state court

   records prior to the filing of Defendants’ notice of removal” and

   finding that “there is no authority within the Fourth Circuit

   supporting the creation or application of an equitable exception

   to the thirty-day time limit of 28 U.S.C. § 1446(b) based on

   ‘exceptional circumstances.’”).

              Other courts allow removing defendants to rely on the

   state court docket for filed proofs of services.         See, e.g.,

   Lopez v. BNSF Ry. Co., 614 F. Supp. 2d 1084, 1089 (E.D. Cal.

   2007) (reasonable diligence found where the removing defendants

   checked the state court docket to ascertain whether co-defendants

   had been served prior to removal and concluding that the removing

   defendants did not have a duty to contact the plaintiffs’ counsel

   to investigate whether service had been effected upon co-


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 defendants); Laurie v. Nat’l R.R. Passenger Corp., No. CIV.A.

 01-6145, 2001 WL 34377958, at *1 (E.D. Pa. Mar. 13, 2001) (“[T]he

 better rule is that is that a defendant is required to obtain

 consent only from those codefendants who it knew or should have

 known” had been served, in the exercise of reasonable diligence –

 i.e. repeatedly checking the docket, calling the office on more

 than one occasion to determine whether a proof of service had

 been filed); Milstead Supply Co. v. Cas. Ins. Co., 797 F. Supp.

 569, 573 (W.D. Tex. 1992) (finding “that the exceptional

 circumstances of this case justify the following holding[:] . . .

 joinder in or consent to the removal petition must be

 accomplished by only those defendants:        (1) who have been served;

 and, (2) whom the removing defendant(s) actually knew or should

 have known had been served.       The second requirement encompasses

 the served defendants whom the removing defendant(s) actually

 knew had been served.      This requirement also mandates that the

 removing defendant(s) obtain the consent or joinder of the other

 defendant(s) whom the removing defendant(s) should have been

 aware of because of the constructive notice of the filing of the

 return of service in the state court.        The constructive notice

 element should only be applied to removing defendants who had a

 reasonable time to become aware of the filing of such service and

 had a reasonable time in which to obtain the consent or joinder

 of such other defendants.”).


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             Removing Defendants rely on the foregoing three cases,

 all of which have applied a lack of constructive notice exception

 to the rule of unanimity.      Williams v. Int’l Gun-A-Rama, 416 Fed.

 Appx. 97, 99 (2d Cir. 2011) (noting that Milstead Supply Co. v.

 Casualty Insurance Co. “carved out an exception to the general

 rule that co-defendants must consent to removal,” and identifying

 Lopez v. BNSF Ry. Co. and Laurie v. Nat’l R.R. Passenger Corp. as

 cases applying the exception).       The Court finds these cases to be

 inapplicable and/or unpersuasive, but even if they were

 controlling authority, they are distinguishable.

             The Lopez court found that the removing defendants

 “exercised reasonable diligence by checking the Kern County

 Superior Court docket to ascertain whether or not other named

 defendants had been served prior to filing their notice of

 removal.”    Lopez, 614 F. Supp. 2d. at 1089.       However, the

 removing defendants in Lopez also contacted legal counsel for

 Kern County, who was unaware of any service on the county.            Id.

 Finally, the plaintiffs did not file proofs of service until the

 day the notice of removal was filed.        Id.   In distinguishing a

 case cited by the plaintiffs, Pianovski v. Laurel Motors, Inc.,

 the court noted that there was no showing that the court clerk’s

 office experienced delays accounted for in Pianovski.7          Id. at


       7
         In Pianovski, it took three days for the state court
 clerk to enter a file-stamped document in the computer and five
 weeks to place it in the court filed. Pianovski, 924 F. Supp. at

                                     11
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 1089.       Here, Removing Defendants did not contact HSBC or counsel

 for HSBC; the proof of service was filed the day prior to

 removal; and there was a delay between the filing of the proof of

 service and docketing on Ho‘ohiki.8

                In Laurie, the removing defendant not only checked the

 docket repeatedly, but also “called the Office of Prothonotary on

 more than one occasion to learn whether a proof of service had

 been filed but not yet docketed.”        Laurie, 2001 WL 34377958, at

 *1.   These actions, taken together, demonstrated reasonable

 diligence.      Id.   Removing Defendants could not satisfy Laurie’s

 reasonable diligence standard with their single check of Ho‘ohiki

 and communication with Mr. Rosen, who has no affiliation with

 this case.

                Milstead was decided in 1992, during which the Fifth

 Circuit applied the first-served defendant rule9 and recognized

 “that ‘exceptional circumstances’ might permit removal even when

 a later-joined defendant petitions for removal more than 30 days

 after the first defendant was served.”        Milstead, 797 F. Supp. at

 572 (citing Brown v. Demco, Inc., 792 F.2d 478, 482 (5th Cir.



 87.
         8
          Because of this delay, it was incumbent upon Removing
 Defendants to take additional steps to discover whether HSBC was
 served.
         9
         Pursuant to a 2011 amendment to 28 U.S.C. § 1446,
 Congress adopted the last-served defendant rule.

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 1986)).    Not only is the rationale behind the Milstead court’s

 decision now inapplicable, factually, the “exceptional

 circumstances” existing there are not presented here.

             In Milstead, the return of service for the co-defendant

 was filed approximately three hours prior to the notice of

 removal on the last day removal could be effected under the

 removal statute.      Id. at 570, 573.    Plaintiffs in this case filed

 the proof of service re: HSBC more than 24 hours prior to removal

 and Removing Defendants filed the Notice approximately two weeks

 before the removal deadline.       As a result, Removing Defendants

 were not confronted with the exigency facing the removing

 defendant in Milstead.

                  a.     Reasonable Diligence Requires More Than
                         Reference to the State Court Docket

             This Court finds persuasive the line of district court

 cases requiring greater efforts than reference to the state court

 docket to establish diligence, and declines to adopt the lack of

 constructive notice exception to the unanimity rule urged by

 Removing Defendants.      Section 1446(b)(2)(A) plainly requires the

 consent of defendants who have been “properly joined and served.”

 Contrary to Removing Defendants’ contentions, there is no

 qualification that § 1446(b)(2)(A)’s requirement is only

 triggered once a proof of service is posted on the electronic

 docket.    Indeed, docketing of service-related documents, though

 informative to defendants seeking removal, has no bearing on

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 whether a co-defendant has actually been served.          Thus, Removing

 Defendants’ reliance on Ho‘ohiki as their exclusive source of

 information regarding effectuation of service contravenes

 statutory authority and case law.        The Court declines to conclude

 that Removing Defendants could only be charged with knowledge of

 HSBC’s service upon the docketing of the proof of service on

 Ho‘ohiki.

              Establishing such a standard would undermine

 § 1446(b)(2)(A), as the need to obtain the consent of co-

 defendants would turn on the docketing of service-related

 documents, not actual service upon defendants.         Further

 complicating matters when relying on electronic dockets to obtain

 requisite knowledge is the delay that can occur between filing

 and docketing.     Here, for example, the proof of service re: HSBC

 was filed at 12:14 p.m. on May 22, 2017, Mot., Decl. of James J.

 Bickerton, Ex. B,10 but had yet to appear on Ho‘ohiki as of June

 6, 2017.11    Opp’n, Kaiawe Decl. at ¶ 11.      The Court therefore

 finds unavailing Removing Defendants’ contention that the absence

 of a proof of service as to HSBC on Ho‘ohiki evidenced a lack of

 service and relieved them of their obligation to obtain HSBC’s



       10
         The filed date and time are also reflected on Ho‘ohiki:
 http://hoohiki.courts.hawaii.gov/#/case?caseId =5CC171000024
 (last visited Aug. 23, 2017).
       11
         None of the parties provided information about when the
 proof of service was ultimately posted on Ho‘ohiki.

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 consent in the removal.

             Removing Defendants’ limited efforts to ascertain

 whether HSBC was served do not constitute “reasonable diligence”.

 From the time they were retained to represent Removing Defendants

 on May 16, 2017 until removal on May 23, 2017, Removing

 Defendants’ counsel made only two attempts to find out if HSBC

 was served.    Removing Defendants could have called the Fifth

 Circuit Court Clerk’s office on Kauai to ask if any proofs of

 service had been filed.12     Their sole reliance on Ho‘ohiki is

 questionable, inasmuch as they themselves had been served yet no

 proofs of service regarding service upon them had been docketed

 on Ho‘ohiki as of May 23, 2017.13        The Court believes that a

 showing of reasonable diligence requires efforts beyond merely

 checking Ho‘ohiki for proofs of service, as the timing in this

 case demonstrates the shortcoming of relying exclusively on an

 electronic docket that may not be updated with sufficient

 frequency to accurately reflect the current state of the



       12
         The Court recognizes that where, as here, the state
 court is located a neighbor island, reasonable diligence would
 not require that counsel make an inquiry in person at the clerk’s
 office of the respective court. If the First Circuit Court were
 the relevant court, however, and counsel is located on Oahu, a
 showing of diligence might require a personal visit to the
 clerk’s office if other modes of inquiry are unsuccessful.
       13
         The Court lacks knowledge about the time it takes for
 filed documents to be posted on Ho‘ohiki, and none of the
 parties’ attorneys could provide information regarding the same.


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 pleadings/filings.     Accordingly, Removing Defendants’

 consultation of Ho‘ohiki, without more, does not demonstrate

 reasonable diligence.

             Neither does Removing Defendants’ counsel’s

 communication with Mr. Rosen establish diligence.          He was not

 counsel of record, he knew nothing about this case, and the fact

 that he previously represented HSBC in a different action does

 not make him a source of information in this action.          Despite the

 fact that this May 17, 2017 inquiry yielded no information

 concerning service upon HSBC, Removing Defendants did not take

 any additional steps, aside from viewing Ho‘ohiki once, to

 ascertain whether Plaintiffs served HSBC.         This is somewhat

 troubling in view of § 1446(a)’s provision concerning compliance

 with Federal Rule of Civil Procedure (“FRCP”) 11:

             A defendant or defendants desiring to remove any
             civil action from a State court shall file in the
             district court of the United States for the
             district and division within which such action is
             pending a notice of removal signed pursuant to
             Rule 11 of the Federal Rules of Civil Procedure
             and containing a short and plain statement of the
             grounds for removal, together with a copy of all
             process, pleadings, and orders served upon such
             defendant or defendants in such action.

 28 U.S.C. § 1446(a).      FRCP 11(b) in turn provides that:

             By presenting to the court a pleading, written
             motion, or other paper . . . an attorney . . .
             certifies that to the best of the person’s
             knowledge, information, and belief, formed after
             an inquiry reasonable under the circumstances: . .
             . (3) the factual contentions have evidentiary
             support or, if specifically so identified, will

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             likely have evidentiary support after a reasonable
             opportunity for further investigation or
             discovery.

 Fed. R. Civ. P. 11(b); Proctor, 584 F.3d at 1225 (quoting

 § 1446(a) and FRCP 11(a) & (b)’s requirements).         Viewing the

 record before it, Removing Defendants’ averment that HSBC did not

 appear to have been served lacked adequate evidentiary support

 and the evidence in fact contradicts this representation.

             Given the circumstances here, communication with

 Plaintiffs’ counsel concerning service upon HSBC would have

 probably prevented the issues that are the subject of this

 Motion.14    The Court does not suggest that Removing Defendants

 were duty-bound to consult Plaintiffs’ counsel, nor that such

 communications would be fruitful in all cases.         But if Removing

 Defendants made further inquiries with Plaintiffs’ counsel or

 HSBC, even as late as May 23, 2017, they likely would have

 learned that HSBC was served on May 1, 2017, and that the proof

 of service was filed one day prior.        Even if these inquiries

 proved unsuccessful, they would have factored favorably into the

 “reasonable diligence” analysis.

             Curiously, Removing Defendants elected to remove the

 action well in advance of their June 6, 2017 deadline to do so.15



       14
         Removing Defendants could have also consulted HSBC
 directly.
       15
            The Court discusses timing in greater detail below.

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 At the hearing, Removing Defendants’ counsel explained that the

 case was expeditiously removed to facilitate the orderly

 progression of the same.      However, the desire to move the case

 along for the sake of filing a responsive pleading undermines any

 claim of diligence because the rush to remove came at the expense

 of satisfying statutory procedural requirements.          Had Removing

 Defendants utilized the remainder of their removal window,

 further inquiries and diligence would probably have revealed that

 HSBC was served and they could have taken necessary steps to

 obtain HSBC’s consent to removal.

             Based on the foregoing analysis, the Court finds that

 Removing Defendants were not reasonably diligent in ascertaining

 whether HSBC was served prior to the removal of this action.16

 Because HSBC was served prior to removal, Removing Defendants

 were required to obtain HSBC’s consent to removal.          Their failure

 to do so renders the Notice defective and removal was therefore

 improper.


       16
         Removing Defendants attempt to distinguish this case
 from US Bank Nat’l Ass’n v. Taylor, CV 15-00018 DKW-KSC, 2015 WL
 1057119 (D. Haw. March 10, 2015), noting the absence of the
 multitude of defects presented in that case. Multiple bases for
 remand existed in Taylor, but the removing defendant’s failure to
 obtain the consent of her served co-defendant, standing alone,
 would have compelled remand. Id. at *3. The legal standard
 governing the consent of served co-defendants is fully applicable
 here. Id. Removing Defendants focus on the presence of a proof
 of service on the docket in Taylor, but for the reasons discussed
 above, this distinction is immaterial. HSBC was served prior to
 removal and Removing Defendants did not exercise reasonable
 diligence to discover this critical fact.

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 II.   HSBC’s Post-Removal Consent and Joinder is Untimely

             Removing Defendants alternatively argue that HSBC

 timely consented pursuant to § 1446(b)(2)(C) because this

 provision does not impose a 30-day time limit to consent.            The

 Court disagrees.

       A.    Section 1446(b)(2)(C) Does not Provide an Open-Ended
             Opportunity to Consent to Removal

             Generally, a later-served defendant has a right of

 removal separate from that of an earlier-served defendant.            28

 U.S.C. § 1446(b)(2); see also Destfino, 630 F.3d at 955-56

 (adopting the later-served defendant rule shortly before its

 codification in 2011, which provides that “each defendant is

 entitled to thirty days to exercise his removal rights after

 being served”).     Under § 1446(b)(2)(B), “[e]ach defendant shall

 have 30 days after receipt by or service on that defendant of the

 initial pleading or summons described in [1446(b)(1)] to file the

 notice of removal.”     28 U.S.C. § 1446(b)(2)(B).      Section

 1446(b)(2)(C) authorizes an earlier-served defendant to consent

 to the notice of removal of a later-served defendant “even though

 that earlier-served defendant did not previously initiate or

 consent to removal.”      28 U.S.C. § 1446(b)(2)(C).

              Relying exclusively on out-of-district/circuit

 cases,17 Removing Defendants posit that because they are later-


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         The Court finds it unnecessary to discuss these cases
 because they are neither binding nor persuasive and arguably

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 served Defendants, HSBC, as the earlier-served Defendant, is not

 subject to a 30-day limitation to consent.         This argument is

 without merit for multiple reasons.        First, Removing Defendants

 consist of Wells Fargo, Martin, and Jergens, and Wells Fargo was

 the first-served Defendant.       Second, even if Removing Defendants

 were all served after HSBC, this would not exempt HSBC from the

 strictures of § 1446.

             Section 1446(b)(2)(C) merely permits an earlier-served

 defendant to consent to a later-served defendant’s removal; it

 does not provide an open-ended opportunity to consent to removal

 at any time during the course of a case.        Zambrano v. New Mexico

 Corr. Dep’t, No. 17-CV-459 WJ-KBM, 2017 WL 2628920, at *6 (D.N.M.

 June 1, 2017) (“[T]here is no provision in § 1446(b)(2)(C) that

 states a defendant may consent to a removal at any time after the

 notice of removal is filed, and Defendants have not directed the

 Court to any case law standing for the proposition that



 conflict with Ninth Circuit law. It is noteworthy that they do
 not stand for the proposition that § 1446(b)(2)(C) provides an
 open-ended deadline to consent. See, e.g., Couzens v. Donohue,
 854 F.3d 508, 515 (8th Cir. 2017) (declining to specify a time
 limit to consent to removal § 1446(b)(2)(C), but finding
 sufficient a consent filed 31 days after the filing of the notice
 of removal and noting that the consenting party later submitted
 an affidavit that the removing defendants had obtained its
 consent prior to removal); Gaynor v. Miller, 205 F. Supp. 3d 935,
 941 (E.D. Tenn. 2016) (finding that 2011 amendments to § 1446
 “did not codify the requirement that earlier-served defendants
 must consent to removal within thirty days of removal”).



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 § 1446(b)(2)(C) authorizes a defendant to consent to removal at

 any time when the defendant has not complied with the thirty-day

 deadline contained in § 1446(b)(2)(B).”).         While § 1446(b)(2)(C)

 does not include a time limit for earlier-served defendants to

 consent to removals, the 30-day limitations found in other

 subsections of § 1446 are instructive, particularly in view of

 Ninth Circuit precedent and the strict procedural requirements

 associated with removal.      Alston v. Wells Fargo Bank, Nat’l

 Ass’n, No. CV TDC-17-1085, 2017 WL 2839629, at *2 (D. Md. June

 29, 2017) (“Section 1446(b)(2)(C), however, does not explicitly

 impose a timing requirement for obtaining the consent of

 co-defendants to remove.      LPS reads this omission as implying an

 open-ended deadline for satisfying the unanimity requirement.

 But this reading chafes against the language in the broader

 statute, which suggests that the deadlines to remove and to

 secure consent are the same.”).       In adopting the later-served

 defendant rule, now codified in § 1446(b)(2)(B), the Ninth

 Circuit explained that the “rule doesn’t go so far as to give

 already-served defendants a new thirty-day period to remove

 whenever a new defendant is served, as that could give a

 defendant more than the statutorily prescribed thirty days to

 remove.”    Destfino, 630 F.3d at 956 (concluding that a later-

 served defendant timely removed because it did so within 30 days

 from when it was served).


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       B.    The Defective Notice was Not Timely Cured by HSBC’s
             Consent and Joinder

             Defects in removal notices may be cured within the 30-

 day period permitted for joinder.        Prize Frize, 167 F.3d at 1266.

 The failure to timely join all defendants is grounds for remand.

 Id.   Plaintiffs argue that HSBC was required to consent to

 removal by June 6, 2017, while Removing Defendants respond that

 no time limitation exists.

             Section 1446(b)(2)(C)’s authorization for earlier-

 served defendants to join in the notice of removal of later-

 served defendant would allow HSBC to consent to the Notice, even

 though it had not previously initiated or consented to removal.

 28 U.S.C. § 1446(b)(2)(C).      In order to cure the defective

 Notice, however, HSBC (the second-served Defendant) was required

 to submit its consent within the 30-day statutory window for

 Martin and Jensen (the last-served Defendants) to remove.

 Because Martin and Jensen were served on May 7, 2017, their

 removal window closed on June 6, 2017.        Accordingly, HSBC’s

 consent had to be filed by June 6, 2017.18        See, e.g., Rouege

 Trucking, LLC v. Canales, No. CIV.A. 14-304-JJB, 2015 WL 127870,


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         Ironically, this is the day Plaintiffs’ counsel provided
 Removing Defendants’ counsel with a copy of the file-stamped
 proof of service re: HSBC following the parties’ planning
 meeting. Opp’n, Kaiawe Decl. at ¶ 10. Therefore, even if
 Removing Defendants had not taken any additional steps towards
 ascertaining whether HSBC had been served since May 23, 2017,
 they had the requisite knowledge to timely correct defects in the
 Notice.

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 at *4 (M.D. La. Jan. 7, 2015) (holding that a consent to removal

 filed by an earlier-served defendant was timely because it was

 within 30 days of the service of the last-served defendant);

 Gibbs v. Ocwen Loan Servicing, LLC, No. 3:14-CV-1153-M-BN, 2014

 WL 2767206, at *2 (N.D. Tex. June 18, 2014) (holding that consent

 to removal under § 1446(b)(2)(C) must be filed within the

 later-served defendant’s thirty-day removal period); Perez v.

 Bank of Am., N.A., No. EP-13-CV-285-KC, 2013 WL 5970405, at *5

 (W.D. Tex. Nov. 7, 2013) (“[E]arlier-served defendants [may] join

 in removal by later- served defendants who remove within their

 own individual statutory thirty-day removal period” established

 by 28 U.S.C. § 1446(b).”) (second alteration in original)

 (quotations and citation omitted); Zambrano, 2017 WL 2628920, at

 *6 (“Under the last-served defendant rule, the rule of unanimity,

 and 28 U.S.C. § 1446(b), Defendants were required to obtain

 unanimous consent to removal from each served Defendant no later

 than the date on which the last-served Defendants had to file a

 notice of removal, in order for removal to be effective.”);

 Alston, 2017 WL 2839629, at *3 (“[U]nder 28 U.S.C. § 1446(b)(2),

 a removing defendant must secure the consent of other served

 defendants by the time of the filing of the notice of removal, or

 within 30 days of when the consenting defendant was first served,

 whichever is later.”); Palmeira v. CIT Bank, Civil No. 17-00275

 ACK-RLP, Doc. No. 26 at 8-9 (D. Haw. Aug. 10, 2017) (finding that


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 defects in the notice of removal “were required to be cured

 within the thirty-day statutory window for removal, which began

 when Defendant Colridge [(the last-served defendant)] was served

 with the First Amended Complaint”).19

             The Court acknowledges that this area of law is

 unsettled and has been the subject of divergent interpretations.

 However, to the extent there are any doubts concerning the

 propriety of removal, they must be resolved in favor of remand.

 By any standard, HSBC’s after-acquired consent and joinder, filed

 July 12, 2017, fell well outside the 30-day period to cure

 defects, thereby violating § 1446(b).        Prize Frize, 167 F.3d at

 1266 (finding removal improper where the unanimity requirement

 was not satisfied and the defendants did not cure the defect

 within the 30-day period).      Even if the Court were to accept June

 26, 2017 – the date that HSBC’s counsel informed Removing

 Defendant’s counsel that HSBC consented to removal – as the date

 HSBC joined in the removal, it would nevertheless be untimely.

 This would be true even if the Court also determined that HSBC

 had 30 days from the date the Notice was filed to cure the


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         Removing Defendants’ counsel addressed this case for the
 first time at the hearing, in violation of Local Rule 7.8 (“A
 party who intends to rely at a hearing on authorities not
 included in either the brief or memorandum of law or in a letter
 submitted at least four (4) days before a hearing should provide
 to the court and opposing counsel copies of the authorities at
 the earliest possible time prior to the hearing.”). She argued
 that this case supports the retention of this action. Even a
 cursory review of the case reveals that it supports remand.

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 defect.

              Ninth Circuit precedent clearly establishes that remand

 is appropriate when defects in removal notices are not cured

 within the 30-day period prescribed by § 1446.         Section 1446’s

 requirements are clear and the case law concerning the unanimity

 requirement is well developed.       Given the Court’s obligation to

 resolve any doubts about the propriety of removal in favor of

 remanding the case to state court, remand is both appropriate and

 necessary.    See 28 U.S.C. § 1447(c).

 III. The Belated Joinder Does not Preclude Remand

              Removing Defendants lastly assert that assuming HSBC’s

 consent was required, pursuant to Hyland v. Office of Housing &

 Community Development, No. CV 15-00504 LEK-RLP, 2016 WL 899237

 (D. Haw. Mar. 8, 2016), consent was timely given.          Hyland does

 not stand for the proposition, nor do the cases upon which it

 relies, that district courts should allow procedural defects to

 be cured prior to the entry of judgment.        To do so would render

 the requirements in § 1446 meaningless.        In pertinent part, the

 Hyland court held:

              However, the failure to obtain all defendants’
              joinder or consent is a procedural defect that can
              be cured prior to the entry of judgment. See
              Destfino v. Reiswig, 630 F.3d 952, 956-57 (9th
              Cir. 2011) (“If this is not true when the notice
              of removal is filed, the district court may allow
              the removing defendants to cure the defect by
              obtaining joinder of all defendants prior to the
              entry of judgment.” (citing Soliman v. Philip
              Morris Inc., 311 F.3d 966, 970 (9th Cir. 2002)

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              (“[A] procedural defect existing at the time of
              removal but cured prior to entry of judgment does
              not warrant reversal and remand of the matter to
              state court.” (alteration in original and internal
              quotation marks omitted)))).

              Ainakea’s joinder in the County Defendants’
              memorandum in opposition to the Motion to Remand
              is also a joinder in the Notice of Removal.
              Further, in its joinder to the memorandum in
              opposition, HAPI confirmed that it consented to
              the removal. Thus, even assuming, arguendo, that
              the removal was defective because the County
              Defendants failed to obtain either the joinder or
              consent of both Ainakea and HAPI, Defendants have
              cured that defect. To the extent that the Motion
              for Remand asks this Court to remand the instant
              case based on the alleged unanimity defect, the
              Motion for Remand is DENIED

 Id. at **2-3.    The Court acknowledges the legitimacy and accuracy

 of the aforementioned legal principles.        However, the cases cited

 in Hyland require a closer examination for contextual purposes.

 The Destfino court relied on Soliman v. Philip Morris Inc., 311

 F.3d 966, 970-71 (9th Cir. 2002), for the principle that a

 procedural defect that is cured prior to the entry of judgment

 does not warrant reversal and remand of the action to state

 court.   The Soliman court in turn relied on Parrino v. FHP, Inc.,

 146 F.3d 699, 703 (9th Cir. 1998), superseded by statute on other

 grounds as recognized in Abrego, 443 F.3d at 681, for this

 principle.

              In Parrino, the Ninth Circuit held that “[u]nder

 Caterpillar[, Inc. v. Lewis, 519 U.S. 61 (1996)] . . . a

 procedural defect existing at the time of removal but cured prior


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 to the entry of judgment does not warrant reversal and remand of

 the matter to state court.”       Id.    Notably, the Parrino court

 explained that it did not

             read Caterpillar to authorize district courts to
             ignore the procedural requirements for removal; to
             the contrary, we agree with Caterpillar that
             “[t]he procedural requirements for removal remain
             enforceable by the federal trial court judges to
             whom those requirements are directly addressed’ .
             . . [w]e understand Caterpillar merely to permit
             the Court of Appeals to treat as cured a
             procedural defect in the removal process corrected
             before entry of judgment.”

 Id. at 703 n.1 (emphasis added) (first alteration in original).

 Relevant to these proceedings, one of the issues on appeal in

 Parrino was the failure to satisfy procedural requirements for

 removal; namely, the joinder by one of one of the defendants in

 the removing defendant’s notice of removal nearly two months

 after service of the complaint.         Id. at 703.   The court declined

 to remand on procedural grounds because to do so would be an

 empty formality.     Id.

             Quoting Caterpillar, the court reasoned:        “To wipe out

 the adjudication post-judgment, and return to state court a case

 now satisfying all federal jurisdictional requirements, would

 impose an exorbitant cost on our dual court system, a cost

 incompatible with the fair and unprotracted administration of

 justice.”    Id. (quoting Caterpillar, 519 U.S. at 77) (quotations

 omitted).    The respondent in Caterpillar expressed concerns that

 “if the final judgment against him is allowed to stand, ‘all of

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 the various procedural requirements for removal will become

 unenforceable.’”     Caterpillar, 519 U.S. at 77 (citation omitted).

 The Supreme Court refused to indulge the respondent’s assumption

 that “district courts generally will not comprehend, or will balk

 at applying, the rules on removal Congress has prescribed.”            Id.

             We are not here dealing with a case on appeal that has

 been fully adjudicated through judgment, where correction of a

 procedural defect is a mere formality.        This case is in its

 earliest stages at the trial level and remand will have a limited

 impact on the case, if at all.       This is the only motion pending

 before the Court and no matters were adjudicated in state court

 prior to removal.     Furthermore, the Court must uphold its

 obligation, as recognized in both Caterpillar and Parrino, to

 enforce the procedural requirements associated with removal.            In

 view of Removing Defendant’s violation of the unanimity rule,

 HSBC’s untimely joinder, and the strong presumption against

 removal jurisdiction, this action must be remanded to state

 court.

 IV.   Removal Expenses

             When a federal court remands a case, it “may require

 payment of just costs and any actual expenses, including attorney

 fees, incurred as a result of the removal.”         28 U.S.C. § 1447(c).

 The Supreme Court has stated that:        “Absent unusual

 circumstances, courts may award attorney’s fees under § 1447(c)


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 only where the removing party lacked an objectively reasonable

 basis for seeking removal.      Conversely, when an objectively

 reasonable basis exists, fees should be denied.”          Martin v.

 Franklin Capital Corp., 546 U.S. 132, 141 (2005) (citations

 omitted).    The district court retains discretion to determine

 whether a given case presents unusual circumstances that warrant

 a departure from this rule.       Id.    The Martin Court also

 instructed that

              [t]he appropriate test for awarding fees under
              § 1447(c) should recognize the desire to deter
              removals sought for the purpose of prolonging
              litigation and imposing costs on the opposing
              party, while not undermining Congress’ basic
              decision to afford defendants a right to remove as
              a general matter, when the statutory criteria are
              satisfied.

 Id.

              Although the Court has concluded that remand is

 necessary, it finds that Plaintiffs are not entitled to an award

 of attorneys’ fees and costs under § 1447(c) because Removing

 Defendants had an objectively reasonable basis for seeking

 removal.20    Sections 1332 and 1441 provided a basis for removal

 notwithstanding the Notice’s procedural deficiency; that is, the

 relevant case law did not clearly foreclose Removing Defendants’

 basis for removal.     Moreover, the case law regarding certain

 issues is unsettled and the Notice could have been timely amended



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            Plaintiffs did not request an award of expenses.

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 to cure the procedural defect following the removal of the

 action.    Accordingly, the Court recommends that the district

 court decline to award fees or costs pursuant to § 1447(c).

                                  CONCLUSION

             For the reasons stated above, the Court HEREBY

 RECOMMENDS that Plaintiffs’ Motion be GRANTED and that this

 action be remanded to the Circuit Court of the Fifth Circuit,

 State of Hawaii.

             IT IS SO FOUND AND RECOMMENDED.

             DATED:      Honolulu, Hawaii, August 25, 2017.



                                      _____________________________
                                      Kevin S.C. Chang
                                      United States Magistrate Judge




 CIVIL NO. 17-00234 DKW-KSC; LEWIS, ET AL. V. HSBC BANK USA, N.A., ET AL.;
 FINDINGS AND RECOMMENDATION TO GRANT PLAINTIFFS’ MOTION FOR AN ORDER OF REMAND




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